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1    SCOTT N. CAMERON
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2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     ISRAEL BALLARDO
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )        CASE NO.    2:10-cr-00078 MCE
                                   )
11                   Plaintiff,    )        STIPULATION AND ORDER CONTINUING
                                   )        STATUS CONFERENCE
12        v.                       )
                                   )
13   ISRAEL BALLARDO               )
     aka Ernesto Franco Alvarez,   )        DATE:     March 3, 2011
14        and                      )        TIME:     9:00 a.m.
     FREDDY LOAIZA                 )        COURT:    Hon. Morrison England, Jr.
15                                 )
                     Defendants.   )
16   ______________________________)
17
                                      Stipulation
18
          The parties, through undersigned counsel, stipulate that the
19
     status conference, scheduled for February 3, 2011, may be continued to
20
     March 3, 2011, at 9:00 a.m.          The defense is reviewing discovery,
21
     investigation is ongoing and it is expected that parties will be
22
     negotiating a settlement.       As a result, the defense needs additional
23
     time before a meaningful status conference can be held.            The parties
24
     also agree that time may be excluded from the speedy trial calculation
25
     under the Speedy Trial Act for counsel preparation, pursuant to 18
26
     U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.
27
     / / /
28

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1         The parties have authorized the defense counsel for Israel
2    Ballardo to sign this stipulation on their behalf.
3
4    DATED: January 31, 2011                   BENJAMIN WAGNER
                                               United States Attorney
5
6                                     by       /s/ Scott N. Cameron, for
                                               Jill Thomas
7                                              Assistant U.S. Attorney
8
     DATED: January 31, 2011
9                                     by       /s/ Scott N. Cameron
                                               Scott N. Cameron
10                                             Counsel for ISRAEL BALLARDO
11
     DATED: January 31, 2011
12                                    by       /s/ Scott N. Cameron, for
                                               Dina Santos
13                                             Counsel for FREDDY LOAIZA
14
15                                      Order
16        Good cause appearing,
17        The status conference, scheduled for February 3, 2011, is
18   continued to March 3, 2011, at 9:00 a.m.
19        Time is excluded from the speedy trial calculation pursuant to 18
20   U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for counsel preparation.
21        IT IS SO ORDERED.
22
     Dated: February 4, 2011
23
24                                      _____________________________
25                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
26
27
28

                                           2
